               Case 2:15-bk-50251                 Doc 36        Filed 05/13/15 Entered 05/13/15 16:44:02                                 Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                                                           Southern District of Ohio (Columbus)
In re Mark H Stroh and Diane J Stroh                                                                              Case No. 15-50251
      Debtor                                                                                                      Chapter 13
Notice of Mortgage Payment Change

If you file a claim secured by a security interest in the debtor's principal residence provided for under the debtor's plan pursuant to § 1322(b)(5), you must use this
form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at least 21 days before the new
payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:       Wells Fargo Financial Ohio 1, Inc.                                     Court claim no. (if known): 1
Last four digits of any number you                                                       Date of payment change:
                                                                                                                                               06/12/2015
use to identify the debtor's account: 8209                                               Must be at least 21 days after date of this notice

                                                                                         New total payment:                                    $1,808.95
                                                                                         Principal, Interest, and escrow, if any
Uniform Claim Identifier:         WFCMGE1550251OHS86468209


Part 1: Escrow Account Payment Adjustment
   Will there be a change in the debtor's escrow account payment?
        No
        Yes.   Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                  Describe the basis for the change. If a statement is not attached, explain why:



                        Current escrow payment:                                                New escrow payment:

Part 2: Mortgage Payment Adjustment
   Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate note?
        No
        Yes.      Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
                  If a notice is not attached, explain why:



       Current interest rate:       8.125%                                               New interest rate:       8.125%
       Current principal and interest payment:             $1,744.41                     New principal and interest payment:              $1,808.95

Part 3: Other Payment Change
   Will there be a change in the debtor's mortgage payment for a reason not listed above?
        No
        Yes.     Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                 modification agreement. (Court approval may be required before the payment change can take effect.)
       Reason for change:


                    Current mortgage payment:                                                         New mortgage payment:
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The CM/ECF system imposes certain constraints, including limits on the number of characters that may be entered into certain fields, when filing
a proof of claim. As a result of these constraints and limitations, the creditor name that appears on the bankruptcy court¶s claims register (and
any supplemental proof of claim) may differ from the creditor name that appears on the actual proof of claim form.
Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
   number if different from the notice address listed on the proof of claim to which this Supplement applies.
   Check the appropriate box:
       I am the creditor.          I am the creditor's authorized agent.
                                   (Attach a copy of power of attorney, if any.)

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge, information,
  and reasonable belief.

        /s/ Xavier Jamal Brooks                                                       Date 05/13/2015
        VP




 Print: Xavier Jamal Brooks                                                           Title   VP


 Company     Wells Fargo Home Mortgage                                                Specific Contact Information:
 Address     MAC X7801-014                                                            P: 800-274-7025
             3476 Stateview Blvd.                                                     E: NoticeOfPaymentChangeInquiries@wellsfargo.com
             Fort Mill, SC 29715




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                                                       Southern District of Ohio (Columbus)
                                                                           Chapter 13 No. 15-50251
 In re:                                                                    Judge: C. Kathryn Preston
 Mark H Stroh and Diane J Stroh
                                                   Debtor(s).

                                                      CERTIFICATE OF SERVICE
 I hereby certify that on May 13, 2015, I have served a copy of this Notice and all attachments to the following by U.S. Mail, postage prepaid, or via
 filing with the US Bankruptcy Court's CM ECF system.
 By U.S. Postal Service First Class Mail Postage Prepaid:

 Debtor:                    Mark H Stroh
                            Diane J Stroh
                            1888 Plains Blvd
                            Powell, OH 43065


 Debtor's Attorney:         Karen E Hamilton
                            31 East Whittier Street
                            Columbus, OH 43206



 Trustee:                   Frank M Pees
                            130 East Wilson Bridge Road
                            Suite 200
                            Worthington, OH 43085


                                                                           /s/ Bill Taylor
                                                                           Authorized Agent




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